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             In the United States Court of Federal Claims
                                             No. 23-843
                                       Filed: March 13, 2024


    DANIEL S. NICHOLSON and
    PATRICIA E. MIDGETT,

                      Plaintiffs,

    v.

    THE UNITED STATES,

                      Defendant.


Lindsay S.C. Brinton, with Meghan S. Largent, Michael Armstrong, and Lucas D. Jackson,
Lewis Rice LLC, St. Louis, Missouri, for Plaintiffs.

Peter W. Brocker, Natural Resources Section, with Todd Kim, Assistant Attorney General,
Environment & Natural Resources Division, U.S. Department of Justice, Washington, D.C., for
Defendant.

                           MEMORANDUM OPINION AND ORDER

TAPP, Judge.

        “There is a pleasure in the pathless woods[.]” 1 Yet for the Hyatt and Nicholson Plaintiffs
(collectively referred to as “Plaintiffs”), 2 that pleasure was replaced with the pain of usurped
property rights. Tn its pursuit of public amenities, the United States transformed Plaintiffs’ land
previously burdened by an unused railway into a different burden—a walking trail. Plaintiffs
bring this rails-to-trails case contesting the United States’ action as an uncompensated taking.




1
    Lord Byron, Childe Harold’s Pilgrimage (1812–18) canto 3, st. 22.
2
  As it relates to this rail corridor, the Court manages two related cases, Rickey A. Hyatt and
Barbara Hyatt v. United States, Case No. 23-499, and Daniel Nicholson and Patricia Midgett v.
United States, Case No. 23-843. The United States moved to consolidate these cases, (Hyatt Mot.
to Consol., ECF No. 6). Plaintiffs objected for their own case management purposes, (Hyatt
Resp. to Mot. to Consol., ECF No. 7); thus, the Court denied that motion. However, the parties
filed joint briefing. This Opinion addresses both cases and will be filed in both dockets, the only
difference will be the case captions. To the extent the Court refers to a specific filing, it will
denote that filing with the label Hyatt or Nicholson.
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        The United States moves for summary judgment, primarily arguing that because
compensation is not available to Plaintiffs, there can be no taking. (Hyatt Defendant’s Motion for
Summary Judgment, ECF No. 18; Nicholson Defendant’s Motion for Summary Judgment, ECF
No. 13 (collectively referred to as “Def.’s Mot. for Summ. J.”)). Plaintiffs cross-move for partial
summary judgment as to liability, arguing that the United States’ action of changing the nature of
an easement on their property effected a taking. (Hyatt Plaintiffs’ Motion for Partial Summary
Judgment, ECF No. 19; Nicholson Plaintiffs’ Motion for Partial Summary Judgment, ECF No.
14 (collectively referred to as “Pls.’ Mot. for Part. Summ. J.”)). Plaintiffs further argue that the
Court should clarify certain calculations relating to just compensation. (See generally Pls.’ Mot.
for Part. Summ. J.). The Court disagrees; conclusions as to those calculations are inappropriate at
this stage. Ultimately though, the Court agrees that the United States has taken Plaintiffs’
property for public use. Therefore, Plaintiffs’ Motion is granted-in-part and the United States’
Motion is denied. The quantum of compensation is premature and left for another day.

                                        I.      Background

       A.      The Trails Act

        The National Trails System Act, 16 U.S.C. §§ 1241 et seq. (“The Trails Act”), allows for
the transformation of inactive railroad corridors into recreational trails if the right-of-way is still
preserved for potential future use as a railroad. To begin this process under the Trails Act, a
railroad company may be permitted to abandon its easement over a railroad corridor after an
application process with the Surface Transportation Board (“STB”). 49 U.S.C. § 10903; see also
id. § 10502.

        Under the Trails Act, qualified private organizations or public agencies may intervene to
railbank the corridor before abandonment is consummated by agreeing to serve as a trail operator
in the interim. 16 U.S.C. § 1247(d). The railbanking intervention process allows a railroad to
negotiate with the intervening entity which would then assume financial and managerial
responsibility for the corridor by operating it as a recreational trail. 28 A.L.R. Fed. 3d Art. 6
(citing Preseault v. Interstate Com. Comm’n, 494 U.S. 1, 6–7, (1990) (“Preseault I”)).

         To allow for this process, the STB may issue a Notice of Interim Trail Use or
Abandonment (“NITU”). 49 C.F.R. § 1152.29. If the railroad and trail sponsor come to an
agreement, then the parties notify the STB, the corridor is railbanked, the STB retains
jurisdiction, and “interim trail use is thereby authorized.” Preseault I, 494 U.S. at 7 n.5 (1990);
see also 16 U.S.C. § 1247(d); 49 C.F.R. § 1152.29(h). If the parties do not reach an agreement,
the railroad may exercise its STB-granted authority to abandon the line. 49 C.F.R. §
1152.29(d)(1), (e)(2); see also Citizens Against Rails-to-Trails v. STB, 267 F.3d 1144, 1150–53
(D.C. Cir. 2001).

       B.      A Railbanking Success Story

       Greensboro, North Carolina is home to more than one hundred miles of “natural and
paved trails designed for walking, hiking, biking, or simply enjoying the outdoors.” Greensboro
Parks & Recreation, Trails & Greenways, https://www.reensboro-nc.gov/departments/parks-

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recreation/trails-greenways (last visited Feb. 1, 2024). To expand that trail network, the City of
Greensboro (the “City”) and Norfolk Southern Railway Company (“Norfolk Southern”)
negotiated for the sale of a 3.1-mile rail corridor within the City of Greensboro. (Def.’s Mot.
for Summ. J. Ex. A (Deposition of the City of Greensboro by Christian Wilson (“Wilson Dep.
(5.18.22)), at 5:21–6:18 (City of Greensboro and the Railway were negotiating the sale of the
Rail Corridor for years before 2019), Hyatt ECF No. 18-1, Nicholson ECF No. 13-1). In April
2019, and before Norfolk Southern initiated abandonment proceedings, the City agreed to
purchase Norfolk Southern’s interest in the 3.1-mile rail corridor. (Id. Ex. B (Agreement of
Purchase and Sale), Hyatt ECF No. 18-2, Nicholson ECF No. 13-2). The sale was contingent
upon successfully railbanking the corridor via the Trails Act. (Id. Ex. A (Wilson Dep. at
21:19–22:15)).

         Norfolk Southern filed a verified Notice of Exempt Abandonment with the STB to
facilitate the transaction. The notice sought approval for abandoning rail service along a 3.1-
mile rail line situated in Greensboro between Mileposts CF-65.6 and CF-68.7 (referred to as the
“Line”). (Pls.’ Mot. for Part. Summ. J. Ex. I, Hyatt ECF No. 19-9, Nicholson ECF No. 14-9).
This Notice was slated to become effective on October 13, 2019. (Def.’s Mot. for Summ. J. Ex
D (citing 84 Fed. Reg. 48383), Hyatt ECF No. 18-4, Nicholson ECF No. 13-4).
Simultaneously, on the day of publication, the City submitted a request to the STB, urging it to
issue a NITU in lieu of outright abandonment of the Line pursuant to its agreement with
Norfolk Southern. (Pls.’ Mot. for Part. Summ. J. Ex. J (City’s Sept. 13, 2019 STB filing), Hyatt
ECF No. 19-10, Nicholson ECF No. 14-10).

        Norfolk Southern informed the STB of its willingness to engage in negotiations with
the City to reach an agreement for interim trail use (Pls.’ Mot. for Part. Summ. J. Ex. K
(Norfolk Southern’s Sept. 20, 2019 STB filing), Hyatt ECF No. 19-9, Nicholson ECF No. 14-
9). Accordingly, on October 11, 2019, the STB issued a NITU authorizing the parties to
negotiate and finalize an interim trail use agreement under 49 C.F.R. § 1152.29 for one-
hundred eighty days, until April 8, 2020. (Id. Ex. L. (NITU), Hyatt ECF No. 19-12, Nicholson
ECF No.14-12). Less than a month later, on November 8, 2019, Norfolk Southern notified the
STB that negotiations were successful, and a Trail Use Agreement had been reached. (Id. Ex.
M (Norfolk Southern’s Notice of Consummation of Trail Use Agreement), Hyatt ECF No. 19-
13, Nicholson ECF No. 14-13).

        On November 8, 2019, Norfolk Southern officially conveyed its interest in the Line to the
City via a “Non-Warranty Deed” and under the parties’ April 2019 Purchase and Sale
Agreement. (Pls.’ Mot. for Part. Summ. J. Ex. N (Non-Warranty Deed from Norfolk Southern to
the City), Hyatt ECF No. 19-14, Nicholson ECF No. 14-14; see also Ex. O (Purchase and Sale
Agreement), Hyatt ECF No. 19-15, Nicholson ECF No. 14-15). The Non-Warranty Deed
attached a legal description and surveys depicting the boundaries and dimensions of the railroad
corridor being sold to the City. (Id. Exs. N, P, Hyatt ECF No. 19-16, Nicholson ECF No. 14-16).
The Purchase and Sale Agreement and the Non-Warranty Deed both specified that the
dimensions of the right-of-way being conveyed to the City would be controlled by this survey.
(Pls.’ Mot. for Part. Summ. J. Exs. N, O).

        The survey attached to the Non-Warranty Deed depicts the width of the easement over
Plaintiffs’ property to be one hundred feet wide. (Id. Exs. N, P (showing two hundred feet total,

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one hundred feet on either side of the centerline)). The United States characterizes this survey
description as “overbroad,” encompassing more interest than Norfolk Southern possessed.
(Def.’s Resp. at 12, Hyatt ECF No. 24, Nicholson ECF No. 19).

       C.      Litigation Ensues

        After the conversion to a trail, Plaintiffs initiated legal actions seeking just compensation
for establishing a new trail easement on their respective properties. (Hyatt Compl., ECF No. 1;
Nicholson Compl., ECF No. 1; see also Pls.’ Mot. for Part. Summ. J. Ex. P (Survey) at 15, 22).
Since 2001, Ricky and Barbara Hyatt own property abutting the rail corridor at 1310 Whilden
Place, Greensboro, North Carolina. (See Pls.’ Mot. for Part. Summ. J. Ex. A (Hyatt Deed), ECF
No. 19-1).




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                             (PLS.’ MOT. FOR PART. SUMM. J. EX P. AT 15).

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One mile away, across North Buffalo Creek, Daniel Nicholson and Patricia Midgett own
property abutting the rail line at 310 Hillside Drive, Greensboro, North Carolina. (See id. Ex. B
(Nicholson Deed), ECF No. 19-2).




                          (PLS.’ MOT. FOR PART. SUMM. J. EX P. AT 22).

Plaintiffs allege uncompensated takings of their property interests in the name of the National
Trails Act. See 16 U.S.C. § 1274(d); see also Hyatt Compl.; Nicholson Compl. (both premising
liability on issuance of the NITU)).


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                                         II.     Analysis

         The United States argues that it is entitled to summary judgment for three reasons: (1)
because “the only just compensation available to Plaintiffs is a nominal award that this Court
lacks jurisdiction to provide,” (Def.’s Mot. at 11–19); (2) “a trail sponsor’s use rights under a
Trails Act easement are not exclusive,” (id. at 19–21); and (3) “Plaintiffs’ improvements do not
interfere with interim trail use,” (id. at 21–24). Plaintiffs take a more novel approach, moving for
partial judgment as it relates to liability. (Pls.’ Mot. for Part. Summ. J. at 13–17). Separate from
the issue of liability, Plaintiffs go on to argue that: (1) the dimensions of the right-of-way are
controlled by the survey attached to the non-warranty deed between Norfolk Southern and the
City, (id. at 17–19); (2) the proper calculation of just compensation includes the addition of
severance damages, where appropriate, (id. at 19–24); and (3) that Plaintiffs have lost the right to
exclude others from their properties, (id. 24–27).

       Ultimately, the Court finds that the United States committed a taking by issuing a NITU
and expanding the easement meant specifically for railroad purposes. The Court also finds that
genuine issues of material fact exist as to the precise dimensions of that taking. Finally, the Court
declines to make any findings on just compensation calculation until Plaintiffs have had a
fulsome opportunity to complete valuation discovery.

       A.      Standard of Review

         The Court may grant summary judgment if the pleadings, affidavits, and evidentiary
materials filed in a case reveal that “there is no genuine dispute as to any material fact and the
movant is entitled to judgment as a matter of law.” RCFC 56(a). The moving party bears the
initial burden to demonstrate the absence of any genuine issue of material fact. See Celotex Corp.
v. Catrett, 477 U.S. 317, 323 (1986). Facts are material if they “might affect the outcome of the
suit.” Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986). A genuine factual dispute
exists when “the evidence is such that a reasonable [factfinder] could return a verdict for the
nonmoving party.” Id. A party seeking to establish a genuine dispute of material fact must “cit[e]
to particular parts of materials in the record, including depositions, documents, electronically
stored information, affidavits or declarations, stipulations [ ], admissions, interrogatory answers,
or other materials.” RCFC 56(c)(1)(A).

        While “inferences to be drawn from the underlying facts . . . must be viewed in the light
most favorable to the party opposing the motion,” United States v. Diebold, Inc., 369 U.S. 654,
655 (1962), summary judgment may still be granted when the party opposing the motion submits
evidence that “is merely colorable . . . or is not significantly probative.” Anderson, 477 U.S. at
251 (internal citation omitted). However, the moving party “need not produce evidence showing
the absence of a genuine issue of material fact but rather may discharge its burden by
showing . . . that there is an absence of evidence to support the nonmoving party’s case.”
Dairyland Power Co-op. v. United States, 16 F.3d 1197, 1202 (Fed. Cir. 1994) (citing Celotex
Corp., 477 U.S. at 325). Courts may only grant summary judgment when “the record taken as a
whole could not lead a rational trier of fact to find for the non-moving party.” Matsushita, Elec.
Indus. Co., Ltd. v. United States, 475 U.S. 574, 587 (1986) (quoting First Nat. Bank of Ariz. v.
Cities Serv. Co., 391 U.S. 253, 289 (1968)). A trial court is permitted, in its discretion, to deny
even a well-supported motion for summary judgment, if it believes the case would benefit from a

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full hearing. Lowery v. United States, 167 Fed. Cl. 28, 37 (2023) (citing United States v. Certain
Real & Pers. Prop. Belonging to Hayes, 943 F.2d 1292 (11th Cir. 1991)).

       B.       Takings and Rails-to-Trails Landscape

        “[F]or all that the [g]overnment takes it must pay.” In re Upstream Addicks & Barker
(Texas) Flood-Control Reservoirs, 159 Fed. Cl. 512, 532 (2022) (quoting United States v.
Dickinson, 331 U.S. 745, 750 (1947)). The Fifth Amendment of the United States Constitution
places an important limit on the government’s power to take private property. Preseault I, 494
U.S. at 11 (1990). As a bedrock principle of the United States Constitution, it mandates that
private property shall not “be taken for public use, without just compensation.” U.S. Const.
Amend. V. 3

       In Trails Act cases, a taking occurs when “government action destroys state-defined
property rights,” either “by converting a railway easement to a recreational trail, if trail use is
outside the scope of the original railway easement,” Ladd v. United States, 630 F.3d 1015, 1019
(Fed. Cir. 2010), or by compelling the continuation of a railroad-purposes easement to
accommodate negotiations for a trail-use agreement, even if the negotiations are ultimately
unsuccessful. See id. at 1025; see also Caquelin v. United States, 959 F.3d 1360, 1367 (Fed. Cir.
2020) (“Caquelin III”).

       Whether a plaintiff is entitled to compensation in Trails Act litigation depends on
meeting two prongs of a three-prong test—stated differently, a taking occurs if the railroad only
held an easement in the taken land (prong 1) and if one of the other two prongs is met. The
Federal Circuit set out these prongs in Preseault II:

            (1) who owned the strips of land involved, specifically did the Railroad . . .
            acquire only easements, or did it obtain fee simple estates;

            (2) if the Railroad acquired only easements, if the terms of the easements
            were limited to use for railroad purposes, then the authorization for future use




3
  The Court employs a two-part test to determine when a government action constitutes a taking.
See Hearts Bluff Game Ranch, Inc. v. United States, 669 F.3d 1326, 1329 (Fed. Cir. 2021).
Under the first step, the Court “determines whether the claimant has identified a cognizable Fifth
Amendment property interest that is asserted to be the subject of the taking.” See Acceptance Ins.
v. United States, 583 F.3d 849, 854 (2009). This step is a “threshold” matter, for if a claimant
fails to demonstrate the existence of a legally cognizable property interest, the Court’s task is at
an end. See Am. Pelagic Fishing Co., L.P. v. United States, 379 F.3d 1363, 1373 (Fed. Cir.
2004). Only when the first step is satisfied does the court determine whether that property
interest was “taken.” Id. at 1372. The plaintiff bears the burden of establishing a cognizable
property interest for its takings claim. See Klamath Irrigation Dist. v. United States, 635 F.3d
505, 519 n.12 (Fed. Cir. 2011).


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            as public recreational trails constituted a taking [i.e., exceeds the scope of the
            easements]; or

            (3) even if the grants of the Railroad’s easements were broad enough to
            encompass recreational trails, if the easements terminated prior to the alleged
            taking so that the property owners at that time held fee simples unencumbered
            by the easements then a taking occurred [i.e., abandonment of the easement].

100 F.3d 1525, 1550 (Fed. Cir. 1996) (“Preseault II”) (en banc) (plurality opinion); see also
Ellamae Phillips Co. v. United States, 564 F.3d 1367, 1373 (Fed. Cir. 2009).

        A taking pursuant to the Trails Act occurs when “state law reversionary interests are
effectively eliminated in connection with a conversion of a railroad right-of-way to trail use.”
Caldwell v. United States, 391 F.3d 1226, 1228 (Fed. Cir. 2004) (internal citations omitted).
Because the Board’s issuance of a NITU forestalls the full abandonment of the railroad line, it is
often what constitutes “the government action that prevents the landowners from possession of
their property unencumbered by the easement.” Ladd, 630 F.3d at 1023; accord Caquelin III,
959 F.3d at 1367 (“The NITU . . . was a government action that compelled continuation of an
easement for a time; it did so intentionally and with specific identification of the land at issue;
and it did so solely for the purpose of seeking to arrange, without the landowner’s consent, to
continue the easement for still longer, indeed indefinitely, by an actual trail conversion.”);
Barclay v. United States, 443 F.3d 1368, 1374 (Fed. Cir. 2006) (“The barrier to reversion is the
NITU, not physical ouster from possession.”); Caldwell, 391 F.3d at 1233–34 (“The issuance of
the NITU is the only government action in the railbanking process that operates to prevent
abandonment of the corridor and to preclude the vesting of state law reversionary interests in the
right-of-way.”). Because this legal mechanism forestalls the landowners’ unencumbered
possession of their property, hindering the future reversion through the railbanking process is
pivotal in considering whether there was a taking.

       C.       Liability

       Property rights are determined by the operation of state law. Castillo v. Diaz, 952 F.3d
1311, 1319 (Fed. Cir. 2020). The United States does not contest Plaintiffs’ property interests.
(See generally Def.’s Mot. for Summ. J.). Plaintiffs have provided deeds and tax records, (Pls.’
Mot. for Part. Summ. J. Ex. A (Hyatt Deed); Ex. B (Hyatt property tax records); Ex. C
(Nicholson Deed), ECF No. 19-3, Ex. D (Nicholson property tax records), ECF No. 19-4),
confirming they owned the properties adjacent to and underlying the right-of-way at the time the
STB issued the NITU. Therefore, the first prong of Preseault II is satisfied.

        As to the second prong of Preseault II, whether the terms of the easements were limited
to use for railroad purposes, this is again uncontested. As the United States points out, North
Carolina “[c]ourts generally have refused to find an abandonment when a railroad leased or sold
a right-of-way for uses not inconsistent with railroad purposes.” (Def.’s Mot. for Summ. J. at 14
(citing City of Charlotte v. BMJ of Charlotte, LLC, 675 S.E.2d 59, 66 (N.C. Ct. App. 2009))
(emphasis added)). However, under North Carolina Law, a recreational trail is beyond the scope
of an easement for railroad purposes. See, e.g., Brown v United States, 153 Fed. Cl. 318 (2021).
Thus, “a compensable taking occurs in North Carolina when the issuance of a NITU results in

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the conversion of a railroad-purposes easement into a recreational-trail easement.” Id. at 331.
Because it is uncontested, and because the default rule in North Carolina is that a recreational
trail is beyond the scope of a railroad purpose, the Court finds that Plaintiffs have also satisfied
the second prong of Preseault II.

       This begs the question, what are we doing here?

         On its face, Plaintiffs have the perfect formula to establish liability: a NITU was issued, a
trail agreement was reached, Plaintiffs established a valid property interest, and the trail is
outside of the prescribed easement. This formula appears to conform to the United States’
positions in past litigation that a taking occurs when a successful trail use agreement is reached.
See e.g., Memmer v. United States, 50 F.4th 136, 144 (Fed. Cir. 2022) (“The government urges
that our cases have found a taking to have occurred only where the NITU either (a) resulted in a
trail-use agreement; or (b) compelled a delay in the railroad’s abandonment of its line.”
(emphasis added)), aff’g-in-part den’g-in-part 150 Fed. Cl. 706 (2020). Even on the same rail
line, the Court is aware that the United States has not contested its liability. See Agapion v.
United States, 167 Fed. Cl. 761, 766 (2023) (“Defendant does not dispute liability.”). 4 It is
unclear how Plaintiffs’ circumstances in this case differ. However, the United States now argues
that these facts are of no consequence. Specifically, because Norfolk Southern “would not have
abandoned the corridor in the absence of a NITU,” (Def.'s Mot. at 1), the United States now
believes that no just compensation is owed, so it cannot be liable for a taking. (Id. at 1–3). This is
untenable.

        Insomuch as the United States asserts that Norfolk Southern’s intent to abandon is
relevant to liability since a trail-use agreement was reached, it is not. The United States cites the
declaration of a Norfolk Southern representative who testified that “[i]f a final trail use
agreement had not been reached, Norfolk Southern would not have abandoned the Line; rather,
the Company would have exercised the lesser-included discontinuance authority to preserve the
rail corridor for future rail service.” (Def.’s Mot. for Summ. J. at 4 (citing Ex. F (Decl. of Kristi
D. Blair) at ¶ 10), ECF No. 18-6). A railroad’s intent has been a central topic of many recent
Court of Federal Claims and Federal Circuit cases. And the Court acknowledges that caselaw is
firm that “a NITU does not effect a taking if, even in the absence of a NITU, the railroad would
not have abandoned its line (a necessary prerequisite for termination of the easement under state
law) during the period of the NITU.” Caquelin III at 1363. This is because “in such a case, the
NITU takes nothing from the landowner that the landowner would have had in the absence of the
NITU.” Id. However, this “but for the NITU” analysis, is specific to cases where no trail-use
agreement has been reached. It cannot be overemphasized, that is not the case here.

       In 2022, the Federal Circuit decided Memmer v. United States, reaffirming the holding in
Caquelin and examining the railroad’s intent to abandon in a situation where a trail-use
agreement was not reached during the NITU period. 50 F.4th at 146. Even there, the Court
unequivocally stated, “[w]e fail to see, though, how [evidence of other trail use negotiation]


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  In March 2022, the Court conducted a valuation trial for two interconnected cases, as detailed
in Agapion v. United States, No. 19-cv-1596 (Fed. Cl.), ECF Nos. 144, 151, 152, and Chapman
Spring/Garden, LLC v. United States, No. 19-cv-1942 (Fed. Cl.), ECF Nos. 110, 117, 118.

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helps the government when, had a trail-use agreement been reached during the NITU, a taking
of Appellants’ property would have occurred.” Id. (internal citations omitted) (emphasis added).
The recognition of such a principle traces back to the early days of Preseault, where it was
established that the transformation of an easement for railroad purposes into one for public trail
use constituted a taking of a new easement, thereby warranting compensation for the affected
landowners. Preseault, 100 F.3d at 1550; see also Lowery, 167 Fed. Cl. at 40 (finding that “a
successful trail-use agreement would still lead to a taking.”).

         From a practical standpoint, this is the only coherent outcome in the real world. First,
there is reason to believe that an economic advantage exists when property owners are certain as
to what their rights are. If everchanging property values began to affect liability or a third party’s
intent was considered after the purpose of an easement has been altered, the goalpost for
establishing an uncompensated taking is moved. It is conceivable that for many landowners, this
leads to an inherent decrease in property interest. Further, Courts cannot reasonably undertake a
“but for the NITU” analysis where a trail-use agreement has already been established; requesting
the Court to do so would further complicate the unnecessarily ambiguous landscape of rails-to-
trails cases. There are limits to the number of hypothetical scenarios the Court can entertain
before rendering opinions that are essentially advisory. In cases where plaintiffs have suffered
from the government altering an easement without consent, it would be counterproductive to
expend resources on speculation. This litigation represents a typical rails-to-trails action where
the United States infringed Plaintiffs’ property rights for a public improvement project. Thus,
once a trail-use agreement was established, Norfolk Southern’s intent to abandon became
irrelevant.

        The United States further uses the proposition that Norfolk Southern’s intent is relevant
to valuation and negates liability. (Def.’s Mot. for Summ. J. at 12–19). Specifically, the United
States purports that Plaintiffs “are not entitled to compensation” and have adduced no evidence
that would entitle them to compensation, therefore it believes that dismissal is warranted. (Id.).
However, this argument presents the logical fallacy of hysteron proteron—it puts the cart before
the horse.

         Under fundamental constitutional law, private property may not be seized for public use
“without just compensation.” Notably, the right to compensation is qualified by the term “just,”
defined by Black’s Law Dictionary as being “right; in accordance with law and justice.” JUST
Definition & Legal Meaning, The Law Dictionary, (last reviewed Feb. 22, 2024),
https://thelawdictionary.org/just/. This qualification distinguishes takings cases, making them
unique.

         The customary distinctions between the “liability” and “damages” stages in takings
litigation are not precisely defined. Liability is established when a taking occurs, and the private
party remains uncompensated. See First English Evangelical Lutheran Church of Glendale v.
County of Los Angeles, 482 U.S. 304, 314 (1987) (finding that the Takings Clause “is designed
not to limit the governmental interference with property rights per se, but rather to secure
compensation in the event of otherwise proper interference amounting to a taking.”). The scope
of “damages” is limited; for instance, compensation is not mandated for losses or expenses
incurred by property owners or tenants that are incidental to or arise because of the taking of real
property if they do not impact the market value of the property taken. See e.g., Yuba Nat. Res.,

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Inc. v. United States, 904 F.2d 1577, 1581 (Fed. Cir. 1990) (“It is a well settled principle of Fifth
Amendment taking law . . . that the measure of just compensation is the fair value of what was
taken, and not the consequential damages the owner suffers as a result of the taking.”); United
States v. General Motors, 323 U.S. 373, 380 (1945) (“[T]hat which is taken or damaged is the
group of rights which the so-called owner exercises in his dominion of the physical thing, and
that damage to those rights of ownership does not include losses to his business or other
consequential damage.” (footnote omitted)). Thus, “not all losses suffered by the owner are
compensable under the Fifth Amendment.” United States ex rel. Tennessee Valley Auth. v.
Powelson, 319 U.S. 266, 281 (1943). While damages are specifically tailored to the property’s
value, the valuation process does not directly influence liability. Holding otherwise would negate
plaintiffs’ burden to establish valuation with specificity and sufficient, reliable proof. See
Gadsden Indus. Park LLC v. United States, 956 F.3d 1362, 1371 (Fed. Cir. 2020) (affirming
award of zero dollars in an inverse takings case where the trial court “was not given sufficient
reliable proof of what a willing buyer would have paid for the [property]”); see also Cully Corp.
v. United States, 163 Fed. Cl. 676, 688 (2022) (awarding zero damages after taking was
established because plaintiff failed to offer affirmative evidence proving that it suffered actual
monetary loss compensable under the Fifth Amendment); Lisbon Contractors, Inc. v. United
States, 828 F.2d 759, 767 (Fed. Cir. 1987) (finding that plaintiffs are tasked with “proving the
amount of loss with sufficient certainty so that the determination of the amount of damages will
be more than mere speculation.”). Because the issue of just compensation does not bear on
liability, it is addressed separately below, see infra.

         Here, Plaintiffs have proven that they have an interest in the underlying property and that
Norfolk Southern’s easement is limited to rail use. By issuing a NITU and invoking Section
1274(d) of the Trails Act, the United States intervened and blocked Plaintiffs’ interests. The
subsequent trail-use agreement imposes further encumbrances on Plaintiffs’ properties than
before. Consequently, they have successfully shown that the United States, through these actions,
has taken their property in accordance with the provisions of the Fifth Amendment. To establish
liability, no more is required.

       D.      Dimensions of the Right-of-Way

        Plaintiffs seek to delineate the specific portion of the land subject to the United States’
taking. (Pls.’ Mot. for Part. Summ. J. at 17). Plaintiffs argue that this determination should be
guided by the survey appended to the non-warranty deed executed by Norfolk Southern with the
City. (Id.). In contrast, the United States maintains that “it is clear from the warranty deed for the
Hyatt’s property and from the Valuation Maps submitted by the Railway . . . that the Quitclaim
Deed is overbroad in its description of the easement.” (Def.’s Resp. at 12). Therefore, the United
States believes that the Court should limit the easement to what interest it believes Norfolk
Southern actually possessed. (Id.). The Court finds that while no amount of contrivance can
manufacture interest where it does not exist, genuine issues of material fact exist precluding
summary judgment.

        Per North Carolina law, a quitclaim deed “conveys only the grantor’s present interest in
the land described, if the grantor has any interest.” Patrick K. Hetrick & James B. McLaughlin,
Jr., Webster’s Real Estate Law in North Carolina § 155 (3rd Ed. 1988). This instrument is one of
conveyance and “passes whatever right, title, and interest grantors had power to convey at the

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time of its execution and delivery.” Love v. United States, 889 F. Supp. 1548, 1562–63
(E.D.N.C. 1994) (citing Hayes v. Ricard, 245 N.C. 687, 688, 97 S.E.2d 105 (1957)). North
Carolina courts have long held that a quitclaim deed conveys no land or indefeasible title but
only transfers what the grantor has “to convey and nothing more.” Coble v. Barringer, 171 N.C.
445, 448, 88 S.E. 518 (1916). Nobody seems to disagree with this premise. (Def.’s Resp. at 11
(“[T]he Railway could not have conveyed a wider corridor than it actually owned.”); Pls.’ Reply
at 18 (“Plaintiffs would certainly agree that a seller cannot sell more than it owns.”), Hyatt ECF
No. 28, Nicholson ECF No. 23). The problem here stems from conflicting documents and a line
of deeds that do not note the width of the easement.

       The City’s purchase and sale agreement with Norfolk Southern specified that:

          The exact area of land to be purchased is to be determined by a survey []
          made by a registered land surveyor licensed in the State of North Carolina
          [and the Survey] shall set forth the total number of square feet or acres
          contained within the Premises, together with a metes and bounds description
          of the Premises.

(Pls.’ Mot. for Part. Summ. J. Ex. N). Subsequently, a survey was conducted and attached to the
Non-Warranty Deed, which effectively transferred Norfolk Southern’s interest in the Corridor to
the City. (Id. Ex. P). According to this survey, the width of the railroad corridor traversing
Plaintiffs’ land is purportedly one hundred feet. (Id. at 15, 22).

        The United States argues that Plaintiffs’ assertion that the 2019 survey is the controlling
document incorrectly expands the geographic scope of Norfolk Southern’s easement. (Def.’s
Reply at 11–13, Hyatt ECF No. 27, Nicholson ECF No. 22). Defendant supports its position
stating that “an earlier warranty deed and other written instruments contradict Plaintiffs’
position.” (Id. at 11). These documents include:

   (1) A prior warranty deed on the Hyatt’s property describing the railroad easement as sixty-
       five feet from the centerline of the railroad, (Def.’s Resp. Ex. E (North Carolina General
       Warranty Deed, dated April 3, 1987));

   (2) A Valuation Map for the rail segment behind the Hyatt’s property depicting a sixty-five-
       foot rail easement from the centerline, (Id. Ex. G (Interstate Commerce Commission,
       Valuation Map V-27 S-17b dated December 31, 1927));

   (3) A Valuation Map for the rail segment behind the Nicholson property depicting a fifty-
       foot easement from the centerline, (Id. Ex. H (Interstate Commerce Commission,
       Valuation Map V-27 S-18a, dated December 31, 1927)).

        However, these documents do not explain the conflicting survey dimensions or if there is
a reason that the Hyatt and Nicholson deeds are silent as to the dimensions of the easement. It is
possible that Norfolk Southern acquired a prescriptive easement within the past thirty-six years.
The sole evidence of record as to what was contracted and what led to the current survey is the
City’s belief that it owns and exercises control over the property delineated in this survey (Pls.’
Mot. for Part. Summ. J. Ex. Q, Hyatt ECF No. 19-17, Nicholson ECF No. 14-7). Based on the
known evidence, neither party can prove whether Norfolk Southern had legal title to the

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easement interest reflected in the survey attached to the non-warranty deed. Therefore, factual
inquiry is required and summary judgment is inappropriate.

       E.      Valuation and Just Compensation

        Having established that a taking occurred, the Court turns to the parties’ argumenta
regarding the specific calculation of just compensation. Specifically, Plaintiffs argue that the
proper “before and after” method for calculating just compensation includes the addition of
severance damages where appropriate. (Pls.’ Mot. for Part. Summ. J. at 19–24). Plaintiffs go on
to argue that the “before condition” must consider the property to be unencumbered by the rail
easement and that the “after condition” must consider that Plaintiffs “have lost the fundamental
right to exclude the public from their property.” (Id. at 24). The United States disagrees. First,
the United States argues that the fair market value of Plaintiffs’ properties in the “before”
condition is ownership subject to a railroad easement because Norfolk Southern did not intend to
abandon the easement. (Def.’s Resp. at 7–9). The United States also argues that the “after”
condition is ownership subject to a non-exclusive, interim trail use easement. (Id. at 9–11). The
Court prefaces its finding that just compensation is largely fact-dependent and varies between
each case; it does not do to impose legal prohibitions on fact-intensive issues. This Court holds
that an expert witness may testify to severance damages. Furthermore, the “before” condition of
the property in this case should not include the legal restriction of possessing an easement but
may account for the real-world physical condition of the land. However, the United States is free
to dispel these notions at trial.

        Landowners bear the burden of establishing the value of the railway corridor, which is a
question of fact. Memmer, 150 Fed. Cl. at 753–54 (internal citations omitted). The Federal
Circuit has held that traditional compensation methods are not exclusive; for example, there may
be appropriate alternative valuation methods for the taking of an easement. See Vaizburd v.
United States, 384 F.3d 1278, 1285–87 (Fed. Cir. 2004); see also Yaist v. United States, 17 Cl.
Ct. 246, 257 (1989) (“The court may use its judgment in selecting the method to determine fair
market value.”).

        In rails-to-trails cases, the Court uses the “before and after” method of assessing damages
where just compensation equals the difference in market value of the land before and after the
easement is imposed. Otay Mesa Prop., L.P. v. United States, 670 F.3d 11358, 1364 (Fed. Cir.
2012). Although “the ‘conventional’ method” of valuing an easement “is the ‘before-and-after’
method, i.e., ‘the difference between the value of the property before and after the Government's
easement was imposed[,]’ . . . there may be appropriate alternative valuation methods for the
taking of an easement.” Id. at 1364 (internal quotes omitted); see also Balagna v. United States,
138 Fed. Cl. 398, 404 (2018). In ruling on the disputes over valuation standards in takings cases,
the Court is cognizant of the guiding principle that “just compensation should be carefully
tailored to the circumstances of each particular case.” Otay Mesa Prop., 670 F.3d at 1368.

        The Court may exclude legal restrictions in calculating the “before and after” condition
of properties. In Moore v. United States, 54 Fed. Cl. 747, 749 (2002), the Court held that “fair
market value of the entire affected parcel [is determined] as if the easement did not exist and
then another determination in light of the taking.” The next year, this Court went on to explain
that the “before and after” calculation requires “a determination of the fair market value of the

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entire affected parcel as if the easement did not exist and then another determination in light of
the taking.” Illig v. United States, 58 Fed. Cl. 619, 624 (2003) (citing Moore, 54 Fed. Cl. at
749)). In 2011, the Court held:

           [T]he extent of the taking depends not on plaintiffs’ property interests at the
           time of the NITU, but rather “upon the nature of the state-created property
           interest that petitioners would have enjoyed absent the federal action and
           upon the extent that the federal action burdened that interest.” This view is
           consistent with well-settled Federal Circuit precedent that “[t]he taking, if
           any, when a railroad right-of-way is converted to interim trail use under the
           Trails Act occurs when state law reversionary property interests that would
           otherwise vest in the adjacent landowners are blocked from so vesting.”
           Because the easement would have reverted back to plaintiffs under state law,
           the fee simple value of plaintiffs’ properties is the appropriate starting point
           in a damages analysis for just compensation; the appropriate measure of
           damages is the difference between the value of plaintiffs’ land unencumbered
           by a railroad easement and the value of plaintiffs’ land encumbered by a
           perpetual trail use easement subject to possible reactivation as a railroad.

Raulerson v. United States, 99 Fed. Cl. 9, 12 (2011) (internal citations omitted).

         This Line does indeed present a slightly unique set of circumstances from prior cases
because Norfolk Southern and the City reached an agreement before the NITU; thus, as the
United States maintains, if there were no NITU, there would be no abandonment. (Def.’s Mot.
for Summ. J. Ex. A ¶ 10 (“If a final trail use agreement had not been reached, Norfolk Southern
would not have abandoned the Corridor and would have instead maintained ownership of its
rights and sought authority to discontinue service[.]”; Id. Ex. B 24:19–22 (“If a NITU was not
granted, Norfolk Southern would have withdrawn its [Notice of Exemption] and filed to
discontinue service.”)). Plaintiffs argue that, despite their intent, the before condition of this Line
should exclude Norfolk Southern’s easement; the United States says that this would be
inaccurate, as Norfolk Southern would not have abandoned the Line but for the NITU. (Pls.’
Mot. for Summ. J at 21; Def.’s Resp. at 7–9). The United States has not shown that it is entitled
to that conclusion as a matter of law. The United States’ position unnecessarily muddies already
murky water and provides an unwarranted loophole for trail negotiations.

         Regardless of how value is calculated, it must account for the physical condition of the
property at the time of the taking. See Rasmuson v. United States, 807 F.3d 1343, 1345–46 (Fed.
Cir. 2015) (“[T]he fair market value of the land includes the physical remnants of the railway
that would have remained on the landowners’ property but for the issuance of the NITUs. . . [A]
‘before’ calculation that does not account for the costs of removing the physical remnants of the
railway will result in an artificially inflated value and yield a windfall to the landowner.”). In
Rasmuson, the parties disagreed whether the “before” condition should include the remnants of
the railroad’s use, including earthen embankments, ties, and poor soil conditions. Id. The Federal
Circuit found that the “before” condition “has to account for [the] physical conditions,” of the
land when “[a]bsent the NITUs, the land would have returned to the landowners,” with those
physical conditions. Id. at 1346. Rasmusen and related cases show that the “before” conditions
distinguish between land that is free of legal restrictions and land that is free of the whispers of a

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railway. The real-world conditions that the “before” condition must consider is the physical
condition of the property, unencumbered by the easement that the NITU extended.

        As to whether severance damages are viable, there is nothing prohibiting valuation
experts from testifying to this. The United States is under the belief that, when the before-and-
after method is properly conducted, it automatically includes any damages to the remainder.
(Def.’s Resp. at 5). Although the parties’ experts may not testify as to how legal uncertainties,
such as landowners’ ability to exclude the public, will be resolved in the future, they may testify
as to how the uncertainty impacts market value. Loveridge v. United States, 167 Fed. Cl. 44, 52
(2023) (citing United States v. 14.38 Acres of Land, 80 F.3d 1074, 1078 (5th Cir. 1996)
(recognizing “the viability of claims for severance damages based on the likelihood that
prospective buyers would fear hazards arising from Government’s use” of property)).

        Regarding the remaining arguments, the Court declines to rule. As it relates to the “after”
condition, the United States argues that the calculation should consider that the property is non-
exclusive and does not interfere with Plaintiffs’ use of the property. (Def.’s Mot. for Summ. J. at
21). The United States has not conclusively shown that this position is supported under North
Carolina law. This, too, is a finding proper following trial testimony and after reviewing facts
pertaining to the degree of interference with Plaintiffs’ use of the property. In takings cases,
landowners are entitled to assume that the United States will make full use of all rights that it has
taken, even if it is not exercising that right in the present. See e.g., 2,953.5 Acres of Land v.
United States, 350 F.2d 356, 360 (5th Cir. 1965) (“The Government concedes, as it must, that the
landowners are entitled to assume in the condemnation suit that the Government will make the
full use physically possible of any easement” taken); Cheshire Hunt v. United States, 157 Fed.
Cl. 101, 111 (Fed. Cl. 2022) (recognizing “the common sense understanding that an easement
holder may use the entirety of the burdened property for the purpose of the easement.”). “The
United States is free to disabuse landowners of that notion, but it must do so per principles of
property law.” Loveridge, 167 Fed. Cl. at 52. Those principles mandate that if the United States
wishes “to limit the exercise of its rights under the easement to its current use or the prospective
use envisaged by its expert,” it should commit to that position through “formal action,” such as a
deed, release, or otherwise. Id. (citing Nichols on Eminent Domain § 16.01 (citing Spinner v.
State, 4 A.D.2d 987, 167 N.Y.S.2d 731 (1957))); see also Dana R. Hodges Trust v. United
States, 111 Fed. Cl. 452, 459 (2013) (denying crossing rights damages when rights were
protected in “original recorded deeds” and therefore could not form basis for damages).
Therefore, the Court cannot find that Plaintiffs are barred as a matter of law from presenting
damages calculations that assume the possibility of interference with their use.

        Plaintiffs contend that the right to exclude others has been unjustly compromised in the
wake of this conversion and should be considered in the “after” condition. (Pls.’ Mot. for Summ.
J. at 24–27). Again, an expert is free to testify to this, subject to evidentiary scrutiny. Appraisers
are responsible for assessing whether a reasonable buyer would be troubled by such potential
losses and the difficulties of remedying them in a manner that is reflected in the market value of
the properties. See e.g., Dana R. Hodges Trust, 111 Fed. Cl. at 458–59 (“[I]f the limitations on
any crossing rights to which the various Plaintiffs may be entitled by operation of state property
law diminish the highest and best use of their lands . . . then such diminished value ought to be
reflected in the parcels’ appraisals in the “after” condition”); Moore v. United States, 61 Fed. Cl.
73 (Fed. Cl. 2004) (appraisal must ask “would a reasonable buyer be concerned about the

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potential loss of access across the Trail?”). In Boyer v. United States, the Court concluded that
appraisals should determine (1) “what a willing buyer would pay for the subject properties,” (2)
“whether such a buyer would be concerned about potential litigation over the right or location of
access across the trail,” and (3) “whether this concern would then translate to a diminution in the
value of the property.” 135 Fed. Cl. 121, 130 (2017). As in Boyer, the expert appraisal shall not
exclude the opportunity to show that a reasonable buyer’s assessment of market value may still
be impacted by the possibility of that scenario occurring. Id.

         Finally, it would be impetuous to rule on the United States’ argument that Plaintiffs have
failed to offer proof as to just compensation and could not do so even if they did have proof,
(Def.’s Mot. for Summ. J. at 12–19). The Court cannot yet decide this issue. Even if valuation
discovery were concluded on both sides, it is highly improbable that this Court would determine
the quantum of just compensation based solely on written submissions. (See Status Conf. Tr.
48:19–22 (Judge: [I]f we get into a situation where different experts are opining -- you know,
that’s trial stuff. That’s not stuff I can resolve on summary judgment.”), Hyatt ECF No. 14).
Once a taking has been classified as either temporary or permanent, the Court applies the
appropriate method of determining just compensation. Otay Mesa, 670 F.3d at 1364. The Federal
Circuit has held that traditional compensation methods are not exclusive; for example, there may
be appropriate alternative valuation methods for the taking of an easement. See Vaizburd, 384
F.3d at 1285–87. However, this is a fact-intensive process, often necessitating judging the
credibility of expert witnesses and personally conducting a site visit. The Court finds that
Plaintiffs are entitled to complete expert discovery as to valuation before the issue of just
compensation is ripe. 5

                                       III.    Conclusion

        The Court denies the United States’ Motion for Summary Judgment, (Hyatt ECF No. 18.
Nicholson ECF No. 13), and grants-in-part Plaintiffs’ Partial Motion for Summary Judgment,
(Hyatt ECF No. 19, Nicholson ECF No. 14). With the knowledge that determinations as to just
compensation are extremely fact-intensive and would likely require a trial, the Court ORDERS
the Parties to meet and confer and submit a joint status report with a proposed schedule for
valuation discovery and pretrial proceedings by March 28, 2024.

       IT IS SO ORDERED.

                                                                     s/ David A. Tapp
                                                                     DAVID A. TAPP, Judge




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  The Court acknowledges that there have been comparable cases concerning the identical rail
line that concluded at the trial court level, resulting in some incidental valuation discovery.
Nevertheless, the Court is hesitant to compel Plaintiffs to depend on those reports in this
instance. This information will be considered when formulating the pretrial schedule moving
forward.

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